

People v McMitchell (2025 NY Slip Op 01952)





People v McMitchell


2025 NY Slip Op 01952


Decided on April 2, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 2, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
LINDA CHRISTOPHER
LILLIAN WAN
DONNA-MARIE E. GOLIA, JJ.


2025-01448
 (Ind. No. 879/20)

[*1]The People of the State of New York, respondent,
vPatshawn McMitchell, appellant.


Patshawn McMitchell, Dannemora, NY, appellant pro se.



DECISION &amp; ORDER
Application by the defendant for a writ of error coram nobis seeking leave to file a late notice of appeal from a judgment of the Supreme Court, Queens County, rendered June 5, 2023.
ORDERED that the application is granted, and the defendant's application is deemed to be a timely notice of appeal.
The defendant has established his entitlement to the relief requested (see People v Syville, 15 NY3d 391).
BARROS, J.P., CHRISTOPHER, WAN and GOLIA, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








